FENNEMORE CRAIG JONES VARGAS

SUIT¥;` 1400
300 SOUTH FOURTH STREF.T

LAS VEGAS_ NEVADA 89101

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Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 1 of 27

DOUGLAS M. COHEN, ESQ.

Nevada Bar No. 1214

FENNEMORE CRAIG JONES VARGAS
300 South Fourth Street, Suite 1400

Las Vegas, Nevada 89101

Telephone: (702) 692-8000

Facsimile: (702) 692-8099

E-mail: dcohen@i"claw.com

Att()rney.s'jr)r De{fendant

UNITED STATES DISTRICT COURT
DISTRICT ()F NEVADA

1': ~k v'c

KIRBY SPENCER, Case No. 2:14-cv-01914~RFB-PAL

Plaintiff,

VS.

SECURITY FINANCE CORPORATION OF
NEVADA, a foreign corporation. doing
business in Nevada,

Defendant.

 

 

DEFENDANT’S MOTION TO ENFORCE SETTLEMENT AGREEMENT
Defendant, SECURITY FINANCE CORPORATION OF NEVADA (real party in interest,
SFC OF NEVADA, LLC), hereby moves the Court to enforce the settlement agreement reached in

this matter.
DATEDrhis § '\I __day 01 F@bruary 2015
FENNEMORE CRAIG JoNEs VARGAS

By l\ …*`1\

DoUG/LAS M €ZoHEN EsQ
Nevada Bar No 1214

300 South Fourth Street, Suite 1400
Las Vegas, Nevada 89101
Telephone: (702) 692-8000
Facsimile: (702) 692-8099
E-mail: dcohcn(rj¥fclaw.com
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FENNEMORE CRAIG JONES VARGAS

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LEGAL ARGUMENT

Douglas l\/l. Cohen, Esq. represents Defendant, SECURITY FINANCE CORPORATION
OF NEVADA (real party in interest, SFC OF NEVADA, LLC). According to Mr. Cohen’s
Affidavit attached hereto as Exhibit A, Plaintiff, KIRBY SPENCER, and SECURITY FINANCE
reached a definitive and binding settlement, in the amount of $4,000, on December 30, 2014, at
1 1 :49 a.m.

On December 23, 2014, at 12:44 p.m., Kirby Spencer’s attorney, Craig Perry, sent an e-
mail to Douglas Cohen stating that his "Client’s offer to settle is $4,000.” On December 231 2014,
at 12:52 p.m.` l\/Ir. Cohen sent an e-mail to Mr. Perry stating that Mr. Cohen Was "forwarding your
34000 settlement offer to Security Finance” and thanked him for the two-Week extension to
respond to the Complaint. On December 30, 2014, at 11:49 a.m., Mr. Cohen sent an e-mail to
Craig Perry stating "Security Finance accepts your client’s offer to settle for $4,000. l vvill
forward/entail a proposed release to you next Week. Please email your W-9 to me and let me
know to Whom you Want the settlement check made payable." The material term to the settlement
agreement vvas the $4,000 settlement amount.

On January 8, 2015, at 10:36 a.m., Mr. Cohen sent to Craig Perry an e-mail enclosing a
draft of the release. On February 12, 2015, Mr. Spencer attempted to renege on the settlement

Under these circumstances, and based on the undisputed facts presented, this Court should
hold that a settlement contract Was formed and is enforceable Yozmg v. Sl`erm Pac;'/z`c P()wer C().,
3:10-CV-00102-LRH-WGC (D. Nev. 2011), citing, May v. Anderson, 121 Nev. 668, 672 (2005)
(“Under Nevada law, ‘a settlement contract is formed When the parties have agreed to its material
terms,` even though the exact language is finalized later, and even if a party later refuses to
execute the Written embodiment of the agreement.”)
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Security Finance respectfully suggests that if documented routine settlements such as this
are not enforced, the practice of law Would become untenable, and reliance on opposing counsel`s
representations regarding his client`s position on settlement or other matters Would be Worthless.

¢ '\g> '\\» \
DATED this , day ot February, 2015.

FENNEl\/IORE CRAIG JONES VARGAS

\11_“""‘

D()UGLAS M§‘\~COHEN, ESQ.
Nevada Bar No. 1214

300 South Fourth Street, Suite 1400
Las Vegas, Nevada 89101
Telephone: (702) 692-8000
Facsimile: (702) 692-8099
E-mail: dcohcn(€_chlaw.com
Attr)rneys'_/br Defendcml

By

 

 

CERTIFICATE OF SERVICE

Pursuant to FRCP Rule 5(b), I certify l am an employee of the law firm of Fennemore
Craig Jones Vargas, and that on the 72 day of February` 2015, I caused the foregoing
l\/IOTION TO ENFORCE SETTLEl\/IENT AGREEMENT to be served Via electronic service to
the following:
Craig K. Perry, Esq.
CRAIG K. PERRY & ASSOCIATES
8010 W. Sahara Avenue, Suite 260

Las Vegas, Nevada 891 17
Aftorneysfor Plal`ntl"ff

/s/ Pattv Pierson
an employee of Fennemore Craig J ones Vargas

 

 

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 4 of 27

 

FENNEMORE CRAlG JONES VARGAS

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Case 2:14-cV-Ol914-RFB-PAL Document 9 Filed 02/18/15 Page 5 of 27

DOUGLAS l\/I. COHEN, ESQ.

Nevada Bar No. 1214

FENNEMORE CRAIG JONES VARGAS
300 South Fourth Street, Suite 1400

Las Vegas, Nevada 89101

Telephone: (702)692-8000

Facsimile: (702)692-8099

E-mail: dcohen@.fclaw.com

Alt()rney.s'fr)r Defendcmt

UNITED STATES DISTRICT COURT
DISTRICT ()F NEVADA

>'< v'¢ ic

KIRBY SPENCER, Case NO. 2:14-cv-01914-RFB-PAL

Plaintiff,
vs.

SECURITY FINANCE CORPORATION OF
NEVADA, a foreign corporation, doing
business in Nevada,

Defendant.

 

 

AFFIDAVIT OF DOUGLAS M. COHEN, ESQ.

STATE OF NEVADA )
) ssi
CGUNTY OF CLARK)

DOUGLAS l\/I. COHEN, ESQ.. being first duly sworn, deposes and says that:
This Aftidavit is based upon my personal knowledge

Defendant, and the real party in interest, SFC OF NEVADA, LLC.

Nevada on December 9, 2014. A copy of the Complaint is attached hereto as Exhibit 1.

e-mail is attached as Exhibit 2.

1

 

 

I represent SECURITY FINANCE CORPORATION OF NEVADA, the named

Plaintiff. KlRBY SPENCER, served a Complaint on Security Finance Corporation of

On December 23. 2014, at 12:44 p.m., I received an e-mail from Kirby Spencer’s counsel.

Craig Perry, stating "lt was nice chatting with you today. Client’s offer to settle is $4,000." This

On December 23, 2014, at 12:52 p.m., I sent an e~mail to Craig Perry confirming a two-

 

FENNEMORE CRAIG JONES VARGAS

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week extension to respond to his Complaint and stating that "1 am hereby forwarding your $4000
settlement offer to Security Finance.” This e-mail is attached as Exhibit 3.

On December 30, 2014, at 11:49 a.m.` I sent an e-mail to Kirby Spencer’s counsel` Craig
Perry, stating "Security Finance accepts your client’s offer to settle for $4,000. I will
forward/email a proposed release to you next week. Please email your W-9 to me and let me
know to whom you want the settlement check made payable." This e-mail is attached as Exhibit
4.

On January 8, 2015, at 10:36 a.m., 1 sent an e-mail to Kirby Spencer’s counsel, Craig
Perry, stating “Attached is the draft of the release. Please return it to me notarized and executed
Please let us know to whom you want the check made payable and please provide your W-Q.
Thank you.” This e-mail is attached as Exhibit 5.

About 10 days after the January 8, 2015 e-mail, 1 contacted Craig Perry about the proposed
draft of the release. He informed me that his client may want to renege on the settlement

On February 12, 2015, I received a letter from Craig Perry stating that Kirby Spencer
"does not agree to resolve the above-noted matter.” His letter is attached as Exhibit 6.

Craig Perry relayed his client’s offer to settle for $4,000 and Security Finance accepted and
agreed to pay the $4,000 settlement offer and this formed a contract between Plaintiff and
Defendant and was the material term of the contract and settlement

I declare under penalty of perjury that the foregoing statements are true and correct.

x `“~ `

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DO`UGLAS` l\/I. COHEN

SUBSCRIBED AND SWORN TO before me
this Z{ day of February, 2015.

//M¢~ WM

I{Fo'tary Public in and for said County and
State.

 

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,` ~-_ .-’ ~ sure or mm -¢¢Mm or cum
' M¥ APPN|\'m' ”.“ |S. 2016
No: 12-7320-1

 

 

 

 

 

Case 2:14-cV-Ol914-RFB-PAL Document 9 Filed 02/18/15 Page 7 of 27

Exhibit l

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Case‘°2:14-cV-Ol914-RFB-PAL Document 9 Filed 02/18/15 Page 8 of 27
Case 2;14-cv-Owl4-RFB-PAL Document 1 Filed 11/1//14 Page l of 5

Craig K. Per`ry_,_ Esq.

Nevada Bar # 3786

CRAIG K. PERRY & ASSOCIATES
8010 W. Sahara Avenue, Suite 260
Las V.egas, Nevada 891 17

Phonet (702) 228-4777

Fax: (702) 943-7520

_E-mail: info@ 1 stoplawtirm.com

Att'orney for Plaintiff

UNITED STATES DISTRICT COURT

 

DISTRICT .OF NEVADA
Kirby Spencer, ) CASE NO-.
t )
Plaint`iff,_ )
) COMPLAI-NT F-OR DAMAGES FOR
vs. ) VIOLATION_ OF THE TELEPH__`ONE
)- CONSUMER PROTECTION AC'I`, 47
Security Finance Corporat`ion of Nevada_, ) U.S.C. §~ 227 ET. SEQ.
a foreign corporation, doing business in )
Ne'vad`a, ) JURY 'I`RIAL DEMANDED
)
Defendant )
1
COMPLAINT

COME~S NOW Spencer Kirby (hereafter referred to\as “Pl`aintiff”), by and through his attorney,
Craig K. Perry, Esq. of the law firm of‘C'r‘aig K. Perry & Assoc_iat'es, and alleges the following against
Security'Finan'oe C_orporation of Nevada (hereatt_er referred to as Defendant “SFC”)'.

INTLRoDUC'rIoN

l. Plaintiff’s Complaint i_s based on the Tel'ephone Consurner Protection Act, 47 U.S.C.

§ 227 et seq. _(hereafter referred to as “TCPA”).
JURISDICTION AND VENUE
2. Ju_risdicti_on ofthis Court arises pursuant to 47 U.S.C. § 227(g)(2), and 28 U.S.C. § 1331

grants this court original jurisdiction of all civil actions arising under the laws of the United States.

 

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Case 2:14-cv-erl4-RFB-PAL Document l Filed 11/17/14 Page 2 of 5

3. SFC conducts‘business in the State of Nevada and therefore, personal jurisdiction is
established y

4. Venuein this Distr`ic't is proper pursuant to 47 U.S.C. § 227(e)(6)(_E)(i), which
incorporates by reference 28 U.S.C. § 13_91, of which the following subsections apply: (b)(2), because
a substantial part of the events~~gi'ving rise to the claim arose in Nevada, and (c)( 1_), because Plaintiff is a
resident of the state of Nevada.

5. Declaratory relief _is available pursuant 1028 U-.-S.C. §§ 2201 and 2202.

PARTIES
6_. Plaintiff is a natural person residing in Henderson, 'Nevada.
7. Plaintiff is both _a “'person” and “called party” as those terms'are used or defined in `47
u.s.c. § 227.
'8. SfFC is a South C'arolina Corporation doing business ih Nevacla'a_nd for whom a principal

purpose of its business is_ telecommunications

9. SFC is properly referred to as both a “person” and a “caller`” as'thos`e terms are used or
defined in 47 U.S.C. § 227

STATEMENT OF FACTS

10. Plaintiff repeats, re-alleges, and incorporates-by reference paragraphs 1 through 9,
inclusive, above.

l`l. Beginning on or about l\/lay 31, 2014, Pl_aintiff began receiving phone calls from SFC to
his cell phone number.

12. On May 31, 2014, when the call came from SFC, Plaintiff answered the call and spoke

to a woman on behalf of SFC. He informed her that this was now his phone number, and asked her not

 

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Case 2114-c\/-01914-RFB-PAL /Document 1 Filed 11/1//14 Page 3 of 5

to call it any more~. She apologized and stated that her company would not call any more. However, the
calls continued unabated \

13'. Not understanding -W`hy the calls continued,- Plaintiff inquired of another caller why the
calls Were still coming in and whether the calls were being made using _an automated diale'r system.

The caller, this time a.man, affirmed, and Plaintiff asked that his name be removed from the automated
telephone dialing system.

14_. _Acco_r‘dingly, atotal of eight (8) calls were.ma'de`by S.FC to Plaintifi’s cell phone, one of
which W_as a routine mistake under the TCPA and the remaining seven (7) We're'made willfully and
.knowingly.

_15. SFC has denied making any calls to Plaintiff’_s cell -number.

16. SFC has also denied using.an automated telephone dialing` system in contradiction to
what was told to the Pla'in`tiff_ by one of their callers who was an employees agent or assign of SFC who
was contacting or attempting to contact `the.Plain`tiff.

17. These calls violate the T`ele`phone-Consumer Protection Act`, 47 U.S.C;. § 227. Such calls
are not permitted when there is neither (1) an established business relationship (see § 227(a)(2)..n0r
(2) prior express consent (see § 227(b)(l)(A)).

18. `SFC does not have an established business relationship with `Plaintiff.

19. S’FC did not have the prior express consent of the Plaintiff before making the calls to

_Pla'intiff.

20. lt has been necessary for Plaintift` to obtain the services of an attorney to pursue this
.claim, and Plaintiff is entitled to- recover reasonable attorney’s fees therefor.
///

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FIRST CLA'IM FO.R RELIEF
'DEFENDA.NT VIOLATED THE TELEPHONE CONSUMER PROTECI`ION A_C'l`

21. Plaintiff repeats, re-a'lleges, and incorporates by reference paragraphs 1 through 20,
inclusive, above.

22. Section 227_(b)(3)(A) of the TCPA authorizes a private cause of action for a person or
entity to bring in an appropriate court of that state "‘an action based on a violation of this subsection or-
the regulations prescribed under this subsection to enjoin such violation.”

23. ‘Section 2527(b)(3)`(B) of the Act. authorizes a private cause of action for a person or entity
to bring in an appropriate court of that state “an action to recover for actual monetary loss.'from such a
violation, or to receive $_500 in damages for each such violation», whichever is greater.”

24. Despite the fact that Plaintiff never consented to SFC making calls to his cellular
telephone, SFC repeatedly placed these non-emergency calls .to Plaintifl’s cellular telephone without
Plaint`iff’s consent

25. The Act also authorizes the Cou!t, in its discretion, to award up to three v(3')'tim'es the
actual damages sustained for violations when they are done “willfully and knowingly.”

26. Here, upon-information and .belief, SFC repeatedly and regularly sent nonemergency,
automated calls to the Plaintiff’s cellular telephone after Plaintiff repeatedly contacted SFC in an effort
to prevent further violations from Occurring.

27. SFC did not have Plaintift7 s express consent_'p_iior to contacting him on his cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice.

WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief in
Pl»aintiff"s favor and that ajudgment be entered against Defendant SFC for the following:

(1) Actual damages;

 

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Case:~2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 12 of 27
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(2) Stat`utory damages up to $1,500 per violation;
(3)` `Reasonabl_e attorney’s fees and costs; and
(4_) Any other relief deemed appropriate by this Honorable Court.
DEMAND FOR JURY TRIAL
PLEASE TAKE NOTlCE that Plaintiff demands a trial by jury in this case.-
REsPEc'rFU.LLY _sUBMITTED,

DATED: Octob'er g `, 2014 CRAIG"K. PERRY & ASSOCIATES

 

Craig K. li‘eir_ » E q.

Nevada` Bar #37 6

8010 W. Sahara Ave., Suite 260
Las Vegas, Nevada 89117
(702) 228-4777

(702) 942,7-520' Fax

'info@l stoplawfirm.com

 

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 13 of 27

Exhibit 2

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 14 of 27

COHEN, DOUGLAS

From: Craig Perry <cperry@craigperry.com>
Sent: Tuesday, December 23, 2014 12:44 Pl\/l
To: COHEN, DOUGLAS

Subject: Spencer v. Security Finance
Attachments: TCPA_RP_Security_Finance.pdf

Doug~

lt was nice chatting with you today.

Client's offer to settle is $4,000.00.

Here are the questions l would ask if we were in litigation They're attached.

l'll send you the email from the bar re: need for more med mal attorneys to screen cases.

Craig K. Perry

Craig K. Perry & Associates

8010 VV. Sahara Avenue, Suite 260
Las Vegas, Nevada 89117-1956
(702) 228~4777 ' (702) 943~75201"3)<

cperry@craigperry.com

DO NO'I` read, copy or disseminate this communication unless you are the intended addressee 'l`his e-mail communication contains
confidential and§'or privileged information intended only for the addressee lf you have received this communication in error, please
ca11 us (collect) immediately at (702) 228-4777 and ask to speak to the sender ofthis communication Also please e-mail the sender
and notify sender immediately that you have received the communication in error.

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 15 of 27

Exhibit 3

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 16 of 27

PIERSON, PATTY

From: COHEN, DOUGLAS

Sent: Tuesday, December 23, 2014 12:52 Pl\/l

To; Craig Perry

Cc: marsha||.\/valsh@security-finance.com; PIERSON, PATTY
Subject: RE: Spencer v. Security Finance

Attachments: TCPA_RP_SeCurity_Finance.pdf

Dear i\,-"i r. Perry,

thank you very much for confirming the two Weei< extension to respond to the complaint l am hereby forwarding your
1101th settlement offer to Security Finance along With the attached questions you referred to below \/\/e’l| get back to
you after the holidays if not before

frank you,
Dougies Cohen

Douqlas |\/|. Cohen [ Fennemore Craiq Jones \/ardas

300 S. Fourth Street, Suite 1400 | Las \/egas, N\/ 89101
Tel: 702.692.6026 | Fa><: 702.692.807`5

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A\dmitted in ties/ada Onio

From: Craig Perry [mailto:cperry@craiqperry.€om]
Sent: Tuesday, December 23, 2014 12:44 PM

To: COHEN, DOUGLAS

Subject: Spencer v. Security Finance

Doug,

lt was nice chatting with you today.

Client's offer to settle is $4,000.00.

Here are the questions 1 would ask if we were in litigation They're attached

1'11 send you the email from the bar re: need for more med mal attorneys to screen cases.

Craig K. Perry

Craig K. Perry & Associates

8010 VV, Sahara Avenue, Suite 260
Las \/egas, Nevada 89117-1956
(702) 228-4777 - (702) 943~7520 fa)<
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DO NOT read, copy or disseminate this communication unless you are the intended addressee This e-mail communication contains
confidential and/or privileged information intended only for the addressee lf you have received this communication in error, please
call us (collect) immediately at (702) 228~4777 and ask to speak to the sender of` this communication Also please e-mail the sender
and notify sender immediately that you have received the communication in error,

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 17 of 27

Exhibit 4

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 18 of 27

COHEN, DOUGLAS

From: COHEN, DOUGLAS

Sent: Tuesday, December 30, 2014 11:49 Ai\/|
To: 'Craig Perry'

Cc: marshall.wa|sh@security-finance.com
Subject: RE; Spencer v. Security Finance

Dear l\;lr. Perry,

Security Finance accepts your clients offer to settle for $4,000. ! will forward/entail a proposed release to you next
weel<. Please small your \/\/~9 to me and let me know to whom you want the settlement check made payable

`l“i'ianl< ~./ou,
thoughts Cohen

Douolas |\/|. Cohen | Fennemore Craiq Jones Varqas

300 8 Fourth Street, Suite 1400 1 Las \/egas, N\/ 89101
Tel: 702.692.8026 | Fax; 702.692.8075

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Arlrriitted in tlevada Ohio

From: Craig Perry [mai|to:cperry@craioDerrv.com]
Sent: Tuesday, December 23, 2014 12:44 PM

To: COHEN, DOUGLAS

Subject: Spencer v. Security Finance

Doug,

lt was nice chatting with you today.

Client's offer to settle is $4,000.00.

Here are the questions 1 would ask if we were in litigation They're attached

1'11 send you the email from the bar re: need for more med mal attorneys to screen cases.

Craig K_ Perry

Craig K_ Perry 81 Associates

8010 \/\/, Sahara Avenue, Suite 260
Las \/egas, Nevada 89117~1956
(702) 228-4777 » (702) 943`75201°3)<

cperry@craigperry.com

DO NOT read, copy or disseminate this communication unless you are the intended addressee This e-maii communication contains
confidential and/or privileged information intended only for the addressee lfyou have received this communication in error7 please
ca11 us (collect) immediately at (702) 228-4777 and ask to speak to the sender ofthis communication Aiso please e-maii the sender
and notify sender immediately that you have received the communication in error.

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EXhibit 5

Case 2:14-cV-01914-RFB-PAL Document 9 Filed 02/18/15 Page 20 of 27

COHEN, DOUGLAS

From: COHEN, DOUGLAS

Sent: Thursday, January 08, 2015 10;36 Al\/l

To: Craig Perry (cperry@craigperry.com)

Cc: marshall,walsh@security-finance.com

Subject: Kirby Spencer vs. Security Finance Corporation
Attachments: Confidentia| Sett|ement and Indemnity Agreement.pdf

,-L‘.ttai:lied is the draft oi the release Please return it to me notarized and executed Please let us know to whom you
want the check made payable and please provide your W-Q. Thanl< you.

Douq|as l\/|. Cohen | Fennemore Craiq Jones \/arqas

300 §§ Fotir'tl'i ‘:Btreet. Suite 1400 l Las \/egas, t\l\/' 89101
"l`el: ?’ti?l%.o`§;li.tlu;l§ l Fa.v:' 702.692_8075

View Bio l Down|oad \/-Card

_,)f'»._dmltted in Nevada, Onio

From: PIERSON, PATTY

Sent: Thursday, January 08, 2015 10:27 AM

To: COHEN, DOUGLAS

Subject: Kirby Spencer vs. Security Finance Corporation

Case 2:14-cV-Ol914-RFB-PAL Document 9 Filed 02/18/15 Page 21 of 27

C()NFIDENTIAL SETTLEMENT AND INDEMNITY AGREEMENT

This Confidential Settlement and Indemnity Agreement ("'Agreemenf`) is hereby entered
into between KIRBY SPENCER ("RELEASOR") and SECURITY FINANCE LLC and SFC OF
NEVADA, LLC, including and on behalf of their past, present and future board members
officers directors administrators supervisors agents (actual, apparent. ostensible or otherwise),
parent companies employees and other personnel, their insurers their subsidiaries
administrators affiliates principals partners officers directors employees employers agents
servants lawyers representatives successors affiliates spouses and assigns and all others in
privity with them (collectively referred to as "RELEASEE").

RECITALS

WHEREAS. certain claims and disputes between the parties have arisen as a result of
certain acts and occurrences which are the subject of a civil action ("Civil Action"() entitled
KlRBY SPENCER v. SECURITY FINANCE CORPORATION OF NEVADA, Case No. 2:14-
cv-01914-RFB-PAL, currently pending before the United States District Court` District of
Nevada, and

WHEREAS, the parties without conceding or admitting liability, conclude that it serves
their respective interests to avoid the expenditure of additional time, effort and resources in
litigating their disputes and in continuing the Civil Action, and that they now wish to fully`
finally and forever settle and compromise their claims and disputes against each other, known or
unknown, including bth not limited to any and all claims to attorney’s fees costs and other
expenses and to release, discharge and terminate all claims demands controversies suits causes
of action, damages rights liabilities and obligations which the parties may have against each
other, including but not limited to, the claims set forth in the Civil Action, which either have been
asserted or which could have been asserted

NGW, THEREFORE, in consideration of the following terms covenants and conditions
set forth herein, the parties hereby agree as follows

SETTLEl\/IENT AGREEl\/IENT AND TERl\/lS

l. The foregoing Recitals are incorporated herein and by this reference are made a
material part ofthis Agreement.

2_ RELEASOR, in consideration of a one-time payment in the amount of $4,000.00
(Four Thousand Dollars) (the “Payment"), to be paid in trust to RELEASOR’S counsel, and for
other valuable consideration do for themselves and for their agents (actual, apparent, ostensible,
or otherwise), beneficiaries assigns heirs executors and successors in interest, and all others in
privity with them, hereby release and forever discharge RELEASEE, including past, present and
future board members officers directors administrators supervisors agents (actual, apparent,
ostensible or otherwise), parent companies employees and other personnel, their insurers their
subsidiaries administrators affiliates principals partners officers directors employees

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employers agents servants lawyers representatives successors affiliates spouses and assigns
and all others in privity with them and each of them from any and all past. present, or future
damages claims and potential claims demands obligations actions causes of action, wrongful
death claims grief and sorrow, funeral expenses punitive damages claims rights damages
costs expenses and compensation of any and all nature whatsoever, whether based upon tort,
contract, statute or regulation, whether state or federal, court decision or any other theory of
recovery, which RELEASOR now has or which may hereafter accrue or otherwise be acquired
on account of, in any way arising out of, or which are or could have been, the subject of the Civil
Action referenced above as part of this agreement, including all claims known and unknown or
unasserted, vested or contingent in law or equity, for economic and non-economic personal or
bodily or mental injuries to RELEASOR.

3. RELEASOR expressly agrees to direct his agents or attorneys to execute any and
all documents necessary to ensure that ALL CLAIl\/IS against the RELEASEE are dismissed with
prejudice, and that the RELEASEE is dismissed from the above entitled Civil Action in its
entirety. RELEASOR`S counsel will also dismiss any claims against any other parties to the Civil
Action allegedly arising out of any acts or omissions by RELEASEE. RELEASOR represents
that he had no medical claims or expenses as a result of RELEASEE`S conduct.

4. RELEASOR acknowledges that this agreement will fully discharge any and all
claims against other entities for vicarious liability or ostensible agency for the alleged acts or
omissions of RELEASEE, to the extent alleged in the Civil Action.

5. lt is understood and agreed upon between RELEASC)R and RELEASEE that this
settlement is a compromise of doubtful and disputed claims and that the payments set forth herein
are not to be construed as an admission of liability on the part of RELEASEE, by whom liability
is expressly denied.

6. RELEASOR represents and warrants that no other person or entity has any interest
in the claims demands obligations or causes of action referred to in this agreement; that
RELEASOR have the sole right and exclusive authority to execute this agreement, and receive the
sum as specified herein, and that all persons who could be bound by this agreement are so bound,
including RELEASOR’S executors administrators personal representatives heirs agents
employees successors beneficiaries estates and assigns RELEASOR further warrants that
RELEASOR has not sold, assigned, transferred conveyed, or otherwise disposed of any of the
claims demands obligations or other causes of action referred to in this agreement

7. Each party shall bear its own costs attorneys` fees and expenses incurred in and as
a result ofthe Civil Action.

8. The parties hereby agree that all settlement proceeds are for compensatory
damages belonging to RELEASOR. Punitive damages were not proven or found by a court of
law to apply to this case. Applicable state law requires that a finding of punitive damages be
adjudicated by a court of coinpetentjurisdiction under specific guidelines there has been no such

finding

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9. In the event it is necessary for either party to this Agreement to institute an action
to interpret or enforce this Agreement, or to preclude the purported violation of this Agreement,
the prevailing party in such action shall be entitled to reimbursement of reasonable costs
expenses and attorneys` fees

l(). RELEASOR acknowledges that he has been represented by legal counsel, and has
consulted with and been advised by counsel with respect to the effect and legal significance of this
Agreement. The RELEASOR acknowledges that he has thoroughly and carefully read this
document and fully understands it and is signing it voluntarily after being fully advised by his
legal counsel. The RELEASOR specifically acknowledges that the sum set forth herein is all of
the money that the RELEASOR will receive from the RELEASEE, despite any costs or fees that
may be claimed by his attorney or any other person or entity.

ll. AGREEMENT TO INDEl\/INIFY AGAINST LIENS

llA. RELEASOR represents and warrants that RELEASOR and RELEASOR"S
COUNSEL have reviewed the underlying facts and evidence of this case and are in the best
position to determine the existence of any liens arising out of or in relation to the Civil Action.
RELEASOR and RELEASOR`S counsel represent and warrant that there are no liens or known
potential liens arising out ofor in relation to the Civil Action.

l lB. RELEASOR acknowledges that in making the Payment to RELEASOR pursuant
to this settlement agreement, RELEASEE is reasonably relying on the representation and
warranties made by RELEASOR herein and these representations and warranties are a material
inducement to RELEASEE to make payment as part ofthis Agreement.

llC0 RELEASOR`S COUNSEL acknowledges that in making payment to
RELEASOR pursuant to this Agreement, RELEASEE is reasonably relying on the
representation and warranties made by RELEASOR"S COUNSEL herein and these
representations and warranties are a material inducement to RELEASEE to make payment under
this Agreement.

l lD. In exchange for the tender of the Payment, which will not include any lienholder
as a named payees RELEASOR hereby covenants and agrees to defend, hold harmless and
indemnify (including costs attorneys’ fees and other claims and/or expenses) RELEASEE from
any and all further, additional or future liability, loss damages or expenses incurred because of
any legal action or threat of legal action which RELEASOR might bring, or which might be
brought on RELEASOR"S behalf. and or brought by creditors or lienholders as a result of the
expenses or benefits which RELEASOR incurred, or which may have been incurred or received
on their behalf, arising out of or in any way relating to the claims asserted in the Civil Action. In
the event of such an action, RELEASEE shall have the sole and exclusive right to select counsel
and to control the defense of such action, and RELEASOR shall be obligated to pay for the
reasonable costs of such defense, and to pay any fines judgment or reasonable settlement reached
with respect to such an action.

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llE. The settlement reached and this Agreement are intended to provide RELEASOR
with a one-time lump sum payment which will foreclose RELEASEE’S responsibility for any
payment of all l\/Iedicare covered medical expenses if any. related to or giving rise to the claims
made in the Civil Action. RELEASOR has not submitted any medical expenses related to the
subject incident to l\/Iedicare or l\/Iedicaid. RELEASOR and his counsel contend that the
settlement of this claim does not meet l\/ledicare’s or l\/ledicaid’s current review requirements
Therefore, it is the position of the Parties that no funds are required to be set-aside for covered
treatment, ifany, related to or giving rise to the claims asserted in the Civil Action.

12. If` any part of this Agreement is found to be invalid, it shall be severable from the
remainder of the Agreement, which shall be unaffected by the invalidity of said part or
paragraph, and shall remain binding and of full effect on the parties hereto.

13. This Agreement is made pursuant to and shall be governed by the laws of the
State ofi\levada.

14. RELEASOR and RELEASEE shall keep the terms of this Agreement strictly
confidential, but are permitted to disclose the terms of this Agreement to their accountants
attorneys financial advisors and others as required by law, and are free to advise the general
public only that the Civil Action was settled on terms mutually agreeable to the parties
RELEASOR and RELEASEE shall refrain from making false statements concerning the terms of
this Agreement and may not disclose to any party, other than as required herein, that monetary
payments have been or will be made, or about the existence of contents of this Agreement.
RELEASOR and RELEASEE may not disclose to any party, other than as permitted herein, the
claims demands damages action, causes of action brought or threatened in the Civil Action.
Nothing in this provision shall inhibit any party from disclosing this agreement as necessary in
legal proceedings or as necessary during the course of defense of a claim related to allegations
contained within the Civil Action.

15. This confidentiality agreement is a mutual promise, the consideration of which is
the agreement by the other party to maintain the confidentiality of this settlement

16. This Agreement contains the entire understanding between RELEASOR and
RELEASEE and their agents attorneys successors subsidiaries affiliates present and former
owners officers directors shareholders and members in connection with the subject matter
discussed herein. lt is expressly acknowledged and recognized by the parties that there are no
other oral or written agreements between the parties and that this Agreement may be modified,
cancelled, supplemented or discharged only in a subsequent writing signed by the parties

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l7. This Agreement is a result of negotiations and, as such, shall be deemed to have
been jointly prepared by the parties The normal rule of construction to the effect that any
ambiguities are to be resolved against the drafting party shall not be employed in the
interpretation of this Agreement or of any amendments or exhibits to this Agreement.

IN WlTNESS WHEREOF, the parties have executed this Agreement as of the date set
forth herein.

By:

 

Kirby Spencer
Subscribed and Sworn to before me this

day of , 2015.

 

NOTARY PUBLIC

l\/ly commission expires:

REVIEWED AND APPROVED BY:

CRAlG K. PERRY & ASSOCIATES

By:

 

Craig K. Perry, Esq.

8010 W. Sahara Avenue, Suite 260
Las Vegas Nevada 891 17
Ai‘torneys`/or Plal`ntl'ff

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Exhibit 6

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/` CRA;iG K.Przrutv
\ &ASSOCIATES

8010 W. Sahara Avenue, Suite 260 ' Las Vegas, Nevada 891 l 7
(702) 228-4777 phone ' (702) 943-7520 fax

February 12, 2015

Via Fg§§imile Onl!
(702) 692-8099

Douglas M. Cohen, Esq.

FENNEMORE, CRAlG, JONES VARGAS
300 S. Fourth S”creet #1400

Las Vegas, Nevada 89101

RE: Spencer vs Security Finance Corporation ofNevada
Case No,: 2:14-cv-01914-RFB-PAL

Dear Doug,

As discussed my client does not agree to resolve the above~noted mattor. As such, please file an answer so
that we can move forward with litigation on this case.

Very truly yours

 

CKP/ec

